
679 S.E.2d 841 (2009)
STATE of North Carolina
v.
Vanetti T. MOORE.
No. 152P09.
Supreme Court of North Carolina.
June 17, 2009.
Thomas Reston Wilson, New Bern, for Moore.
Catherine F. Jordan, Assistant Attorney General, for State.

ORDER
Upon consideration of the petition filed on the 8th of April 2009 by Defendant in this matter for discretionary review of the decision *842 of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
Denied by order of the Court in conference, this the 17th of June 2009.
